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                                                                          6                                IN THE UNITED STATES DISTRICT COURT
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                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9   NUANCE COMMUNICATIONS, INC.,
                                                                         10                   Plaintiff,                            No. C 08-02912 JSW
                                                                         11     v.
United States District Court
                               For the Northern District of California




                                                                         12   ABBYY SOFTWARE HOUSE, ET AL.,                         ORDER REFERRING MOTION
                                                                                                                                    FOR REVIEW OF COSTS
                                                                         13                   Defendants.                           AWARD TO MAGISTRATE
                                                                                                                                    JUDGE
                                                                         14                                                /
                                                                         15
                                                                                       Pursuant to Local Rule 72-1, Defendants’ motion for review of costs award is HEREBY
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                                                                              REFERRED to a randomly assigned magistrate judge to prepare a report and recommendation.
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                                                                                       IT IS SO ORDERED.
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                                                                              Dated:    October 21, 2013
                                                                         20                                                         JEFFREY S. WHITE
                                                                                                                                    UNITED STATES DISTRICT JUDGE
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                                                                         26   cc: Magistrate Judge Referral Clerk
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